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EXHIBIT 15
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THOMAS A. CLARE, P.C.                                                                                 MEGAN L. MEIER


                                                    December 23, 2020

  Via Email

   Mike Lindell
   Founder and CEO
   My Pillow Shop
   Email: mlindell@mypillow.com


                   Re:      Notice of Obligation to Preserve Documents Related to Dominion
    Dear Mr. Lindell:

             Our law firm is defamation counsel to US Dominion Inc.1 We write regarding your patently
    false accusations that Dominion has somehow rigged or otherwise improperly influenced the recent
    U.S. presidential election. Despite knowing your implausible attacks against Dominion have no
    basis in reality, you have participated in the vast and concerted misinformation campaign to slander
    Dominion.

            Last week we sent letters to Sidney Powell and various media entities, demanding retraction
    of their myriad false and conspiratorial claims about Dominion. Recently, you have positioned
    yourself as a prominent leader of the ongoing misinformation campaign. Accordingly, Dominion
    formally demands that you (1) cease and desist making defamatory claims against Dominion2 and
    (2) preserve and retain all documents relating to Dominion and your smear campaign against the
    company.

            Litigation regarding these issues is imminent. With this letter you are on notice of your
    ongoing obligations to preserve documents related to Dominion’s claims for defamation based on
    allegations that the company acted improperly during the November 2020 presidential election and
    somehow rigged the election in favor of President-Elect Joe Biden. Accordingly, you must ensure
    that you and your principals, your agents, your subcontractors, any agents or employees under your
    supervision, and all sources of information upon which you relied are preserving and retaining all
    emails, text messages (including messages sent over messaging platforms such as WhatsApp),
    audiovisual recordings, voice mails, drafts, notes, communications, documents, data, and
    electronically stored information of any kind that relate in any way to these matters. Without any

    1
      We also represent and write on behalf of its subsidiaries, Dominion Voting Systems, Inc. and Dominion Voting
    Systems Corporation (collectively, “Dominion”).
    2
      For the avoidance of all doubt, this is a retraction demand pursuant to relevant state statutes and applicable rules of
    court.
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limitation, this requires you to preserve all research and due diligence you conducted or instructed
others to conduct relating to your allegations of alleged voting improprieties and all research and
due diligence you conducted or instructed others to conduct relating to any of your public statements
regarding Dominion.

       In addition, you must preserve, without limitation, all communications with:

       •   Any member, volunteer, staff, or employee of the Trump campaign;

       •   Sidney Powell, Rudy Giuliani, Jenna Ellis, L. Lin Wood, and each of their partners,
           associates, and paralegals;

       •   Every individual who assisted you in researching or conducting due diligence on any
           claim you have made related to Dominion or the November 2020 presidential election;

       •   Every reporter, editor, blogger, host, or other member of the media with whom you
           communicated about Dominion or the November 2020 presidential election, regardless
           of whether they published any of your claims; and

       •   Every individual who has compensated you or any related entity in any manner for
           making public statements about, undertaking any other related actions related to,
           Dominion and/or the November 2020 presidential election.

        The laws and rules prohibiting destruction of evidence apply to electronically stored
information in the same manner that they apply to other evidence. Due to its format, electronic
information is easily deleted, modified, or corrupted. Accordingly, you must take every reasonable
step to preserve this information until this matter is resolved. This may include, but would not be
limited to, an obligation to discontinue all data destruction and backup data recycling policies and
procedures on any and all devices within your possession, custody, or control. Your obligation to
preserve documents applies both to you individually, and to any entities that you control.




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        Confirm receipt of this letter and that you intend to adhere to our request to retain
documents as set forth above. This is not a complete recitation of Dominion’s rights and remedies,
all of which are expressly reserved.

       We look forward to your prompt response.



                                                    Regards,




                                                    Thomas. A. Clare, P.C.




                                                    Megan L. Meier




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